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                       UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK



       IN RE:

       ORLY GENGER,

                           Debtor.
                                                              Chapter 7


                                                              Case No: 19-13895-jlg


                                                              Adv No: 20-1010
      DALIA GENGER,

                          Plaintiff,

               v.

      ORLY GENGER, MICHAEL BOWEN, ARIE
      GENGER, ARNOLD BROSER, DAVID BROSER,
      ERIC HERSCHMANN, THE GENGER
      LITIGATION TRUST, ADBG LLC, TEDCO INC.,
      and DEBORAH PIAZZA as chapter 7 trustee,

                          Defendants.



                            CERTIFICATE OF SERVICE
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   BETH C. KHINCHUK, of full age, hereby certifies and states:

          I am an associate at Emmet, Marvin & Martin, LLP.

          1.     Pursuant to FRCP 4 made applicable to these proceedings under FRBP

   7004, on April 20, 2020, I served copies of Dalia Genger’s Complaint Seeking a

   Declaratory Judgment and the Imposition of a Constructive Trust for the Benefit of Dalia

   Genger and the corresponding Summons by first-class mail upon the following parties at

   the following addresses:

                 a) Michael Bowen
                          C/O Kasowitz, Benson, Torres LLP, 1633 Broadway, New
                          York, Ny 10019

                 b) Michael Bowen
                          263 Pelhamdale Ave, Pelham, NY 10803

                 c) Eric Herschmann
                           C/O Kasowitz, Benson, Torres LLP, 1633 Broadway, New
                           York, Ny 10019

                 d) Eric Herschmann
                           210 Lavaca St #1903, Austin, TX 78701

                 e) Orly Genger
                          210 Lavaca St #1903, Austin, TX 78701

                 f) Yann Geron
                          Reitler Kailas & Rosenblatt LLC, 885 Third Avenue, 20th
                          Floor, New York, NY 10022

                 g) Rocco A. Cavaliere
                          Tarter Krinsky & Drogin LLP, 1350 Broadway, 11th Floor,
                          New York, NY 10018

                 h) Deborah J. Piazza
                          Tarter Krinsky & Drogin LLP, 1350 Broadway, 11th Floor,
                          New York, NY 10018




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                i) Deborah J. Piazza
                         44 Rowe Pl, New Hyde Park, NY 11040

                j) Arie Genger
                          17001 Collins Ave., Sunny Isles Beach, FL 33160

                k) David Broser
                         60 Harbor Ln, Roslyn, NY 11576

                l) Arnold Broser
                          5371 Fisher Island Dr., Miami, FL 33109

                m) Genger Litigation Trust
                         C/O David Broser, 60 Harbor Ln, Roslyn, Ny 11576

                n) ADBG LLC
                        C/O David Broser, 60 Harbor Ln, Roslyn, Ny 11576

                o) ADBG LLC
                        C/O Arnold Broser, 5371 Fisher Island Dr., Miami, Fl 33109

                p) ADBG LLC
                        251 Little Falls Drive, Wilmington, DE 19808

                q) TEDCO, INC
                        C/O Arnold Broser, 5371 Fisher Island Dr., Miami, FL 33109

                r) TEDCO, INC
                        C/O David Broser, 60 Harbor Ln, Roslyn, Ny 11576

                s) TEDCO, INC.
                        251 Little Falls Drive, Wilmington, DE 19808

                t) Genger Litigation Trust
                         C/O Lance Harris, Stein & Harris, 1211 Avenue of the
                         Americas, New York, NY 10036




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          I HEREBY CERTIFY that the foregoing statements made by me are true. I am

   aware that if any of the foregoing statements made by me are willfully false, I am subject

   to punishment.

                                                   /s/ Beth Khinchuk
                                                   BETH C. KHINCHUK

   DATED: April 20, 2020




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